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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


  ALLEN BIVENS, on behalf of himself and all Case No. __________
  others similarly situated,

                                 Plaintiff,           JURY TRIAL DEMANDED

  v.

  MEMBERS LIFE INSURANCE
  COMPANY d/b/a TRUSTAGE
  FINANCIAL GROUP, INC.,

                                 Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Allen Bivens, individually and on behalf of all similarly situated persons, alleges

the following against MEMBERS Life Insurance Company d/b/a TruStage Financial Group, Inc.

(“MLIC” or “Defendant”) based upon personal knowledge with respect to himself and on

information and belief derived from, among other things, investigation by his counsel and review

of public documents, as to all other matters:

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this class action against MLIC for its failure to properly secure and

safeguard Plaintiff’s and other similarly situated MLIC customers’ sensitive information, including

full names, addresses, dates of birth, and Social Security numbers ("personally identifiable

information" or “PII”).

       2.      Defendant is a mutual insurance company that offers financial services to

corporations, and other customers worldwide.




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        3.      Upon information and belief, former and current customers of Defendant are

required to entrust Defendant, directly or indirectly, with sensitive, non-public PII, without which

Defendant could not perform its regular business activities, in order to obtain financial and/or other

services from Defendant's clients. Defendant retains this information for at least many years and

even after the consumer relationship has ended.

        4.      By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendant assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion.

        5.      On or about May 31, 2023, Defendant learned that one of its IT vendors had been

penetrated by a cyberattack.1 In response, Defendant “promptly launched an investigation into the

nature and scope of the” Data Breach. 2 As a result of its investigation, Defendant concluded₋₋on

or about June 16, 2023₋₋that Plaintiff’s and Class Members’ PII was compromised in the Data

Breach.3

        6.      According to Pension Benefit Information, LLC's untitled letter, sent to Plaintiff

and Class Members on behalf of Defendant (the “Notice Letter”), the compromised PII included

individuals’ names, addresses, dates of birth, and Social Security numbers.4

        7.      Defendant failed to adequately protect Plaintiff's and Class Members PII––and

failed to even encrypt or redact this highly sensitive information. This unencrypted, unredacted PII

was compromised due to Defendant's negligent and/or careless acts and omissions and their utter

failure to protect customers’ sensitive data. Hackers targeted and obtained Plaintiff's and Class

Members’ PII because of its value in exploiting and stealing the identities of Plaintiff and Class


1
  The "Notice Letter." Attached hereto as Exhibit A.
2
  Id.
3
  Id.
4
  Id.



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Members. The present and continuing risk to victims of the Data Breach will remain for their

respective lifetimes.

       8.      Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendant’s failure to: (i) adequately protect the PII of Plaintiff and Class Members; (ii)

warn Plaintiff and Class Members of Defendant’s inadequate information security practices; and

(iii) effectively secure hardware containing protected PII using reasonable and effective security

procedures free of vulnerabilities and incidents. Defendant’s conduct amounts at least to

negligence and violates federal and state statutes.

       9.      Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to implement and maintain adequate and reasonable

measures and ensure those measures were followed by its IT vendors to ensure that the PII of

Plaintiff and Class Members was safeguarded, failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required, and appropriate

protocols, policies, and procedures regarding the encryption of data, even for internal use. As a

result, the PII of Plaintiff and Class Members was compromised through disclosure to an unknown

and unauthorized third party.

       10.     Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable relief.

       11.     Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) invasion of privacy; (ii) lost or diminished value of PII; (iii)

lost time and opportunity costs associated with attempting to mitigate the actual consequences of

the Data Breach; (iv) loss of benefit of the bargain; and (v) the continued and certainly increased

risk to their PII, which: (a) remains unencrypted and available for unauthorized third parties to




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access and abuse; and (b) remains backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII.

       12.     Plaintiff and Class Members seek to remedy these harms and prevent any future

data compromise on behalf of himself and all similarly situated persons whose personal data was

compromised and stolen as a result of the Data Breach and who remain at risk due to Defendant’s

inadequate data security practices.

       13.     Plaintiff seeks remedies including, but not limited to, compensatory damages,

nominal damages, and reimbursement of out-of-pocket costs.

       14.     Plaintiff also seeks injunctive and equitable relief to prevent future injury on behalf

of himself and the putative Class.

                                            PARTIES

       15.     Plaintiff Allen Bivens, is, and at all times mentioned herein was, an individual

citizen of Louisiana.

       16.     Defendant MEMBERS Life Insurance Company d/b/a TruStage Financial Group,

Inc. is an Iowa corporation with its principal place of business located in Madison, Wisconsin.

                               JURISDICTION AND VENUE

       17.     The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of class members is over 100, many of whom reside outside the

state of Wisconsin and have different citizenship from MLIC, including Plaintiff. Thus, minimal

diversity exists under 28 U.S.C. §1332(d)(2)(A).

       18.     This Court has jurisdiction over MLIC because MLIC operates in this District.




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        19.         Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because

Defendant's principal place of business is located in this District, a substantial part of the events

giving rise to this action occurred in this District, and MLIC has harmed Class Members residing

in this District.

                                     FACTUAL ALLEGATIONS

        Defendant’s Business

        20.         Defendant is a mutual insurance company that offers financial services to

corporations, and other customers worldwide, which Plaintiff is a former customer of.

        21.         Plaintiff and Class Members are current and former customers of Defendant's.

        22.         As a condition of receiving its products and/or services, MLIC requires that its

customers, including Plaintiff and Class Members, entrust it with highly sensitive personal

information.

        23.         The information held by Defendant in its computer systems or those of its vendors

at the time of the Data Breach included the unencrypted PII of Plaintiff and Class Members.

        24.         Upon information and belief, Defendant made promises and representations to its

customers, including Plaintiff and Class Members, that the PII collected from them as a condition

of obtaining products and/or services of Defendant’s, customer PII would be kept safe,

confidential, that the privacy of that information would be maintained, and that Defendant would

delete any sensitive information after it was no longer required to maintain it.

        25.         Indeed, Defendant's Privacy Policy provides that:

        We maintain physical, technological and administrative safeguards to protect
        your personal information and prevent unauthorized or accidental use,
        access, or loss. We limit access to personal information about you to those
        who have a business need for such access. Individuals who process personal
        information on our Business Partner’s behalf generally may do so only in an
        authorized manner and are required to keep your information confidential.
        We have policies in place that regulate how our employees and contractors


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          handle information about you. We limit access to our premises and to our
          computer networks and take steps to safeguard against unauthorized access
          to such premises and networks. We have procedures in place to manage any
          suspected data security incident and will notify you consistent with
          applicable legal requirements. 5

          26.     Plaintiff and Class Members provided their PII to Defendant, directly or

indirectly, with the reasonable expectation and on the mutual understanding that Defendant

would comply with its obligations to keep such information confidential and secure from

unauthorized access.

          27.     Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their PII. Plaintiff and Class Members relied on the sophistication of Defendant

to keep their PII confidential and securely maintained, to use this information for necessary

purposes only, and to make only authorized disclosures of this information. Plaintiff and Class

Members value the confidentiality of their PII and demand security to safeguard their PII.

          28.     Defendant had a duty to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties and to audit, monitor, and verify

the integrity of its IT vendors and affiliates. Defendant has a legal duty to keep consumer’s PII

safe and confidential.

          29.     Defendant had obligations created by FTC Act, Gramm-Leach-Bliley Act,

contract, industry standards, and representations made to Plaintiff and Class Members, to keep

their PII confidential and to protect it from unauthorized access and disclosure.

          30.     Defendant derived a substantial economic benefit from collecting Plaintiff's and

Class Members’ PII. Without the required submission of PII, Defendant could not perform the

services it provides.



5
    https://www.trustage.com/legal/privacy (last accessed Aug. 9, 2023)



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          31.        By obtaining, collecting, using, and deriving a benefit from Plaintiff's and Class

Members’ PII, Defendant assumed legal and equitable duties and knew or should have known

that it was responsible for protecting Plaintiff's and Class Members’ PII from disclosure.

          The Data Breach

          32.        On or about July 21, 2023, Pension Benefit Information, LLC, on behalf of

Defendant, began sending Plaintiff and other Data Breach victims an untitled letter (the "Notice

Letter"), informing them that:

          What Happened? On or around May 31, 2023, Progress Software, the provider of
          MOVEit Transfer software disclosed a vulnerability in their software that had been
          exploited by an unauthorized third party. PBI utilizes MOVEit in the regular course of
          our business operations to securely transfer files. PBI promptly launched an investigation
          into the nature and scope of the MOVEit vulnerability’s impact on our systems. Through
          the investigation, we learned that the third party accessed one of our MOVEit Transfer
          servers on May 29, 2023 and May 30, 2023 and downloaded data. We then conducted a
          manual review of our records to confirm the identities of individuals potentially affected
          by this event and their contact information to provide notifications. We recently
          completed this review on June 16, 2023, and confirmed that information concerning a
          limited number of MLIC’s consumers was among the records involved in this incident.

          What Information Was Involved? Our investigation determined that the following
          types of information related to you were present in the server at the time of the event:
          name, address, date of birth, and Social Security number.6

          33.        Omitted from the Notice Letter were the details of the root cause of the Data

Breach, the vulnerabilities exploited, and the remedial measures undertaken to ensure such a

breach does not occur again. To date, these critical facts have not been explained or clarified to

Plaintiff and Class Members, who retain a vested interest in ensuring that their PII remains

protected.

          34.        This “disclosure” amounts to no real disclosure at all, as it fails to inform, with

any degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without



6
    Notice Letter.



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these details, Plaintiff's and Class Members’ ability to mitigate the harms resulting from the Data

Breach is severely diminished.

       35.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed. Moreover, Defendant failed to exercise due diligence in selecting its IT vendors or

deciding with whom it would share sensitive PII.

       36.     The attacker accessed and acquired files Defendant shared with a third party

containing unencrypted PII of Plaintiff and Class Members, including their Social Security

numbers and other sensitive information. Plaintiff's and Class Members’ PII was accessed and

stolen in the Data Breach.

       37.     Plaintiff further believes his PII, and that of Class Members, was subsequently

sold on the dark web following the Data Breach, as that is the modus operandi of cybercriminals

that commit cyber-attacks of this type.

       Data Breaches Are Preventable

       38.     Defendant could have prevented this Data Breach by, among other things,

properly encrypting PII being shared with its vendors or otherwise ensuring that such PII was

protected while in transit or accessible.

       39.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed.

       40.     The unencrypted PII of Class Members will end up for sale to identity thieves on




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the dark web, if it has not already, or it could simply fall into the hands of companies that will

use the detailed PII for targeted marketing without the approval of Plaintiff and Class Members.

Unauthorized individuals can easily access the PII of Plaintiff and Class Members.

       41.      As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.”7

       42.      To prevent and detect cyber-attacks and/or ransomware attacks Defendant could

and should have implemented, as recommended by the United States Government, the following

measures:

            ● Implement an awareness and training program. Because end users are targets,
              customers and individuals should be aware of the threat of ransomware and how it is
              delivered.

            ● Enable strong spam filters to prevent phishing emails from reaching the end users
              and authenticate inbound email using technologies like Sender Policy Framework
              (SPF), Domain Message Authentication Reporting and Conformance (DMARC),
              and DomainKeys Identified Mail (DKIM) to prevent email spoofing.

            ● Scan all incoming and outgoing emails to detect threats and filter executable files
              from reaching end users.

            ● Configure firewalls to block access to known malicious IP addresses.

            ● Patch operating systems, software, and firmware on devices. Consider using a
              centralized patch management system.

            ● Set anti-virus and anti-malware programs to conduct regular scans automatically.

            ● Manage the use of privileged accounts based on the principle of least privilege: no
              users should be assigned administrative access unless absolutely needed; and those
              with a need for administrator accounts should only use them when necessary.




7
  How to Protect Your Networks from RANSOMWARE, at 3, available at: https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view (last visited August 9, 2023).



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                  ● Configure access controls—including file, directory, and network share
                    permissions—with least privilege in mind. If a user only needs to read specific files,
                    the user should not have write access to those files, directories, or shares.

                  ● Disable macro scripts from office files transmitted via email. Consider using Office
                    Viewer software to open Microsoft Office files transmitted via email instead of full
                    office suite applications.

                  ● Implement Software Restriction Policies (SRP) or other controls to prevent programs
                    from executing from common ransomware locations, such as temporary folders
                    supporting popular Internet browsers or compression/decompression programs,
                    including the AppData/LocalAppData folder.

                  ● Consider disabling Remote Desktop protocol (RDP) if it is not being used.

                  ● Use application whitelisting, which only allows systems to execute programs known
                    and permitted by security policy.

                  ● Execute operating system environments or specific programs in a virtualized
                    environment.

                  ● Categorize data based on organizational value and implement physical and logical
                    separation of networks and data for different organizational units.8

           43.        To prevent and detect cyber-attacks or ransomware attacks Defendant could and

should have implemented, as recommended by the Microsoft Threat Protection Intelligence

Team, the following measures:

           Secure internet-facing assets

           -          Apply latest security updates
           -          Use threat and vulnerability management
           -          Perform regular audit; remove privileged credentials;

           Thoroughly investigate and remediate alerts

           -          Prioritize and treat commodity malware infections as potential full
                      compromise;

           Include IT Pros in security discussions


8
    Id. at 3-4.



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       -       Ensure collaboration among [security operations], [security admins], and
               [information technology] admins to configure servers and other endpoints securely;

       Build credential hygiene

       -       Use [multifactor authentication] or [network level authentication] and use strong,
               randomized, just-in-time local admin passwords;

       Apply principle of least-privilege

       -       Monitor for adversarial activities
       -       Hunt for brute force attempts
       -       Monitor for cleanup of Event Logs
       -       Analyze logon events;

       Harden infrastructure

       -       Use Windows Defender Firewall
       -       Enable tamper protection
       -       Enable cloud-delivered protection
       -       Turn on attack surface reduction rules and [Antimalware Scan
               Interface] for Office[Visual Basic for Applications].9

       44.     Given that Defendant was storing and sharing the PII of its clients' current and

former customers, Defendant could and should have implemented all of the above measures to

prevent and detect cyberattacks.

       45.     The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data

Breach and the exposure of the PII of more than one million current and former customers of

Defendant, including that of Plaintiff and Class Members.

       Defendant Acquires, Collects, And Stores Plaintiff's and the Class's PII

       46.     As a condition to obtain products and/or services from MLIC, Plaintiff and Class

Members were required to give their sensitive and confidential PII, directly or indirectly, to


9
 See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at:
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-preventable-
disaster/ (last visited August 9, 2023).



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Defendant.

       47.      Defendant retains and stores this information and derives a substantial economic

benefit from the PII that they collect. But for the collection of Plaintiff's and Class Members’ PII,

Defendant would be unable to perform its services.

       48.      By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendant assumed legal and equitable duties and knew or should have known that they were

responsible for protecting the PII from disclosure.

       49.      Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendant to keep their PII confidential and maintained

securely, to use this information for business purposes only, and to make only authorized

disclosures of this information.

       50.      Defendant could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the PII of Plaintiff and Class Members or by

exercising due diligence in selecting its IT vendors and properly auditing those vendor’s security

practices.

       51.      Upon information and belief, Defendant made promises to Plaintiff and Class

Members to maintain and protect their PII, demonstrating an understanding of the importance of

securing PII.

       52.      Indeed, Defendant's Privacy Policy provides that:

       We maintain physical, technological and administrative safeguards to protect
       your personal information and prevent unauthorized or accidental use,
       access, or loss. We limit access to personal information about you to those
       who have a business need for such access. Individuals who process personal
       information on our Business Partner’s behalf generally may do so only in an
       authorized manner and are required to keep your information confidential.
       We have policies in place that regulate how our employees and contractors
       handle information about you. We limit access to our premises and to our



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        computer networks and take steps to safeguard against unauthorized access
        to such premises and networks. We have procedures in place to manage any
        suspected data security incident and will notify you consistent with
        applicable legal requirements. 10

        53.     Defendant's negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.

        Defendant Knew or Should Have Known of the Risk Because Insurance Companies In
        Possession Of PII Are Particularly Suspectable To Cyber Attacks

        54.     Defendant’s data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting insurance companies that

collect and store PII, like Defendant, preceding the date of the breach.

        55.     Data thieves regularly target companies like Defendant's due to the highly

sensitive information that they custody. Defendant knew and understood that unprotected PII is

valuable and highly sought after by criminal parties who seek to illegally monetize that PII

through unauthorized access.

        56.     In 2021, a record 1,862 data breaches occurred, resulting in approximately

293,927,708 sensitive records being exposed, a 68% increase from 2020.11

        57.     The 330 reported breaches reported in 2021 exposed nearly 30 million sensitive

records (28,045,658), compared to only 306 breaches that exposed nearly 10 million sensitive

records (9,700,238) in 2020.12

        58.     Indeed, cyber-attacks, such as the one experienced by Defendant, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a




10
   https://www.trustage.com/legal/privacy (last accessed Aug. 9, 2023)
11
   See 2021 Data Breach Annual Report (ITRC, Jan. 2022) (available at
https://notified.idtheftcenter.org/s/), at 6.
12
   Id.



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warning to potential targets so they are aware of, and prepared for, a potential attack. As one

report explained, smaller entities that store PII are “attractive to ransomware criminals…because

they often have lesser IT defenses and a high incentive to regain access to their data quickly.”13

       59.     In light of recent high profile data breaches at other industry leading companies,

including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), Defendant knew or should have known that the PII that they collected and

maintained would be targeted by cybercriminals.

       60.     As a custodian of PII, Defendant knew, or should have known, the importance of

safeguarding the PII entrusted to it by Plaintiff and Class members, and of the foreseeable

consequences if its data security systems were breached, including the significant costs imposed

on Plaintiff and Class Members as a result of a breach.

       61.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

       62.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and of the foreseeable

consequences that would occur if Defendant's data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a

result of a breach.


13
  https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-targeted-
ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=consumerprotection (last
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        63.     Additionally, as companies became more dependent on computer systems to run

their business,14 e.g., working remotely as a result of the Covid-19 pandemic, and the Internet of

Things (“IoT”), the danger posed by cybercriminals is magnified, thereby highlighting the need

for adequate administrative, physical, and technical safeguards.15

        64.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant's server(s), amounting to potentially over one million

individuals’ detailed, PII, and, thus, the significant number of individuals who would be harmed

by the exposure of the unencrypted data.

        65.     In the Notice Letter, Defendant offers to cover identity monitoring services for a

period of 12 months. This is wholly inadequate to compensate Plaintiff and Class Members as it

fails to provide for the fact victims of data breaches and other unauthorized disclosures commonly

face multiple years of ongoing identity theft, financial fraud, and it entirely fails to provide

sufficient compensation for the unauthorized release and disclosure of Plaintiff and Class

Members’ PII. Moreover, once this service expires, Plaintiff and Class Members will be forced

to pay out of pocket for necessary identity monitoring services.

        66.     Defendant's offer of credit and identity monitoring establishes that Plaintiff's and

Class Members’ sensitive PII was in fact affected, accessed, compromised, and exfiltrated from

Defendant's computer systems.

        67.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant's failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.


14
   https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-for-financial-
stability-20220512.html (last accessed Aug. 9, 2023).
15
   https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-services-and-banking-
firms-in-2022 (last accessed Aug. 9, 2023).



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        68.     The ramifications of Defendant's failure to keep secure the PII of Plaintiff and

Class Members are long lasting and severe. Once PII is stolen––particularly Social Security

numbers––fraudulent use of that information and damage to victims may continue for years.

        69.     As an insurance company in possession of its clients' current and former

customers’ PII, Defendant knew, or should have known, the importance of safeguarding the PII

entrusted to them by Plaintiff and Class Members and of the foreseeable consequences if its data

security systems were breached. This includes the significant costs imposed on Plaintiff and Class

Members as a result of a breach. Nevertheless, Defendant failed to take adequate cybersecurity

measures to prevent the Data Breach.

        Value Of Personally Identifiable Information

        70.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”16

The FTC describes “identifying information” as “any name or number that may be used, alone

or in conjunction with any other information, to identify a specific person,” including, among

other things, “[n]ame, Social Security number, date of birth, official State or government issued

driver’s license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”17

        71.     The PII of individuals remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

identity credentials.18



16
   17 C.F.R. § 248.201 (2013).
17
   Id.
18
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16,
2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-
much-it-costs/ (last accessed Aug. 9, 2023).



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        72.     For example, PII can be sold at a price ranging from $40 to $200.19 Criminals can

also purchase access to entire company data breaches from $900 to $4,500.20

        73.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—names and Social Security numbers.

        74.     This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information . . . [is] worth more than 10x on the black market.”21

        75.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

        76.     The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also

between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for up to
        a year or more before being used to commit identity theft. Further, once stolen data have
        been sold or posted on the Web, fraudulent use of that information may continue for years.
        As a result, studies that attempt to measure the harm resulting from data breaches cannot



19
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6, 2017,
available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-
is-selling-for-on-the-dark-web/ (last accessed Aug. 9, 2023).
20
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last visited Aug. 9, 2023).
21
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers,
IT World, (Feb. 6, 2015), available at: https://www.networkworld.com/article/2880366/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last accessed Aug. 9, 2023).



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       necessarily rule out all future harm.22

       MLIC Failed to Comply with FTC Guidelines

       77.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision

making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g.,

FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       78.     In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cybersecurity guidelines for businesses.

The guidelines note that businesses should protect the personal customer information that they

keep, properly dispose of personal information that is no longer needed, encrypt information

stored on computer networks, understand their network’s vulnerabilities, and implement policies

to correct any security problems. The guidelines also recommend that businesses use an intrusion

detection system to expose a breach as soon as it occurs, monitor all incoming traffic for activity

indicating someone is attempting to hack into the system, watch for large amounts of data being

transmitted from the system, and have a response plan ready in the event of a breach.

       79.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction, limit access to sensitive data, require complex

passwords to be used on networks, use industry-tested methods for security, monitor the network



22
  Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Aug. 9, 2022).




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for suspicious activity, and verify that third-party service providers have implemented reasonable

security measures.

       80.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by the FTCA. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.

       81.     These FTC enforcement actions include actions against insurance companies, like

Defendant.

       82.     As evidenced by the Data Breach, MLIC failed to properly implement basic data

security practices and failed to audit, monitor, or ensure the integrity of its vendor’s data security

practices. MLIC’s failure to employ reasonable and appropriate measures to protect against

unauthorized access to Plaintiff’s and Class Members’ PII constitutes an unfair act or practice

prohibited by Section 5 of the FTCA.

       83.     MLIC was at all times fully aware of its obligation to protect the PII of its

customers yet failed to comply with such obligations. Defendant was also aware of the significant

repercussions that would result from its failure to do so.

       MLIC Failed to Comply with the Gramm-Leach-Bliley Act

       84.     MLIC is a financial institution, as that term is defined by Section 509(3)(A) of the

Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. § 6809(3)(A), and thus is subject to the GLBA.

       85.     The GLBA defines a financial institution as “any institution the business of which

is engaging in financial activities as described in Section 1843(k) of Title 12 [The Bank Holding

Company Act of 1956].” 15 U.S.C. § 6809(3)(A).




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        86.     Defendant collects nonpublic personal information, as defined by 15 U.S.C. §

6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1). Accordingly, during the relevant

time period Defendant were subject to the requirements of the GLBA, 15 U.S.C. §§ 6801.1, et

seq., and is subject to numerous rules and regulations promulgated on the GLBA statutes.

        87.     The GLBA Privacy Rule became effective on July 1, 2001. See 16 C.F.R. Part

313. Since the enactment of the Dodd-Frank Act on July 21, 2010, the CFPB became responsible

for implementing the Privacy Rule. In December 2011, the CFPB restated the implementing

regulations in an interim final rule that established the Privacy of Consumer Financial

Information, Regulation P, 12 C.F.R. § 1016 (“Regulation P”), with the final version becoming

effective on October 28, 2014.

        88.     Accordingly, Defendant's conduct is governed by the Privacy Rule prior to

December 30, 2011 and by Regulation P after that date.

        89.     Both the Privacy Rule and Regulation P require financial institutions to provide

customers with an initial and annual privacy notice. These privacy notices must be “clear and

conspicuous.” 16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. “Clear and

conspicuous means that a notice is reasonably understandable and designed to call attention to

the nature and significance of the information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R.

§ 1016.3(b)(1). These privacy notices must “accurately reflect[] [the financial institution’s]

privacy policies and practices.” 16 C.F.R. § 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5.

They must include specified elements, including the categories of nonpublic personal information

the financial institution collects and discloses, the categories of third parties to whom the financial

institution discloses the information, and the financial institution’s security and confidentiality

policies and practices for nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6.




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These privacy notices must be provided “so that each consumer can reasonably be expected to

receive actual notice.” 16 C.F.R. § 313.9; 12 C.F.R. § 1016.9. As alleged herein, Defendant

violated the Privacy Rule and Regulation P.

       90.     Upon information and belief, Defendant failed to provide annual privacy notices

to customers after the customer relationship ended, despite retaining these customers’ PII and

storing that PII on Defendant's network systems.

       91.     Defendant failed to adequately inform their customers that they were storing

and/or sharing, or would store and/or share, the customers’ PII on an insecure platform, accessible

to unauthorized parties from the internet, and would do so after the customer relationship ended.

       92.     The Safeguards Rule, which implements Section 501(b) of the GLBA, 15 U.S.C.

§ 6801(b), requires financial institutions to protect the security, confidentiality, and integrity of

customer information by developing a comprehensive written information security program that

contains reasonable administrative, technical, and physical safeguards, including: (1) designating

one or more employees to coordinate the information security program; (2) identifying

reasonably foreseeable internal and external risks to the security, confidentiality, and integrity of

customer information, and assessing the sufficiency of any safeguards in place to control those

risks; (3) designing and implementing information safeguards to control the risks identified

through risk assessment, and regularly testing or otherwise monitoring the effectiveness of the

safeguards’ key controls, systems, and procedures; (4) overseeing service providers and requiring

them by contract to protect the security and confidentiality of customer information; and (5)

evaluating and adjusting the information security program in light of the results of testing and

monitoring, changes to the business operation, and other relevant circumstances. 16 C.F.R. §§

314.3 and 314.4.




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       93.     As alleged herein, Defendant violated the Safeguard Rule.

       94.     Defendant failed to assess reasonably foreseeable risks to the security,

confidentiality, and integrity of customer information and failed to monitor the systems of its IT

partners or verify the integrity of those systems.

       95.     Defendant violated the GLBA and its own policies and procedures by sharing the

PII of Plaintiff and Class Members with a non-affiliated third party without providing Plaintiff

and Class Members (a) an opt-out notice and (b) a reasonable opportunity to opt out of such

disclosure.

       MLIC Failed to Comply with Industry Standards

       96.     As noted above, experts studying cybersecurity routinely identify insurance

companies as being particularly vulnerable to cyberattacks because of the value of the PII which

they collect and maintain.

       97.     Some industry best practices that should be implemented by insurance companies

dealing with sensitive PII, like MLIC, include but are not limited to: educating all employees,

strong password requirements, multilayer security including firewalls, anti-virus and anti-

malware software, encryption, multi-factor authentication, backing up data, and limiting which

employees can access sensitive data. As evidenced by the Data Breach, Defendant failed to follow

some or all of these industry best practices.

       98.     Other best cybersecurity practices that are standard in the insurance industry

include: installing appropriate malware detection software; monitoring and limiting network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches, and routers; monitoring and protecting physical security systems; and

training staff regarding these points. As evidenced by the Data Breach, Defendant failed to follow




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these cybersecurity best practices.

       99.      Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center

for Internet Security’s Critical Security Controls (CIS CSC), which are all established standards

in reasonable cybersecurity readiness.

       100.     Defendant failed to comply with these accepted standards in the insurance

industry, thereby permitting the Data Breach to occur.

       MLIC Breached its Duty to Safeguard Plaintiff’s and Class Members’ PII

       101.     In addition to its obligations under federal and state laws, MLIC owed a duty to

Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the PII in its possession from being compromised, lost,

stolen, accessed, and misused by unauthorized persons. MLIC owed a duty to Plaintiff and Class

Members to provide reasonable security, including consistency with industry standards and

requirements, and to ensure that its computer systems, networks, and protocols adequately

protected the PII of Class Members

       102.     MLIC breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data and failed to audit, monitor, or ensure the integrity of its vendor’s data security

practices. MLIC’s unlawful conduct includes, but is not limited to, the following acts and/or

omissions:

             a. Failing to maintain an adequate data security system that would reduce the risk of




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               data breaches and cyberattacks;

           b. Failing to adequately protect customers’ PII;

           c. Failing to properly monitor its own data security systems for existing intrusions;

           d. Failing to audit, monitor, or ensure the integrity of its vendor’s data security

               practices;

           e. Failing to sufficiently train its employees and vendors regarding the proper

               handling of its customers PII;

           f. Failing to fully comply with FTC guidelines for cybersecurity in violation of the

               FTCA;

           g. Failing to adhere to the Gramm-Leach-Bliley Act and industry standards for

               cybersecurity as discussed above; and

           h. Otherwise breaching its duties and obligations to protect Plaintiff’s and Class

               Members’ PII.

       103.    MLIC negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ PII by allowing cyberthieves to access its computer network and systems which

contained unsecured and unencrypted PII.

       104.    Had MLIC remedied the deficiencies in its information storage and security

systems or those of its vendors and affiliates, followed industry guidelines, and adopted security

measures recommended by experts in the field, it could have prevented intrusion into its

information storage and security systems and, ultimately, the theft of Plaintiff’s and Class

Members’ confidential PII.

       Common Injuries & Damages

       105.    As a result of Defendant’s ineffective and inadequate data security practices, the




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Data Breach, and the foreseeable consequences of PII ending up in the possession of criminals,

the risk of identity theft to the Plaintiff and Class Members has materialized and is imminent, and

Plaintiff and Class Members have all sustained actual injuries and damages, including: (a)

invasion of privacy; (b) loss of time and loss of productivity incurred mitigating the materialized

risk and imminent threat of identity theft risk; (c) the loss of benefit of the bargain (price premium

damages); (d) diminution of value of their PII; I invasion of privacy; and (f) the continued risk to

their PII, which remains in the possession of Defendant, and which is subject to further breaches,

so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

and Class Members’ PII.

        The Data Breach Increases Victims' Risk Of Identity Theft

        106.    Plaintiff and Class Members are at a heightened risk of identity theft for years to

come.

        107.    The unencrypted PII of Class Members will end up for sale on the dark web

because that is the modus operandi of hackers. In addition, unencrypted PII may fall into the

hands of companies that will use the detailed PII for targeted marketing without the approval of

Plaintiff and Class Members. Unauthorized individuals can easily access the PII of Plaintiff and

Class Members.

        108.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the

data by selling the stolen information on the black market to other criminals who then utilize the

information to commit a variety of identity theft related crimes discussed below.

        109.    Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take




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on the victim’s identity--or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        110.    For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data Breaches

can be the starting point for these additional targeted attacks on the victim.

        111.    One such example of criminals piecing together bits and pieces of compromised

PII for profit is the development of “Fullz” packages.23

        112.    With “Fullz” packages, cyber-criminals can cross-reference two sources of PII to

marry unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on individuals.

        113.    The development of “Fullz” packages means here that the stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiffs’ and Class Members’ phone numbers,



23
   “Fullz” is fraudster speak for data that includes the information of the victim, including, but not limited
to, the name, address, credit card information, social security number, date of birth, and more. As a rule of
thumb, the more information you have on a victim, the more money that can be made off of those
credentials. Fullz are usually pricier than standard credit card credentials, commanding up to $100 per
record (or more) on the dark web. Fullz can be cashed out (turning credentials into money) in various
ways, including performing bank transactions over the phone with the required authentication details in-
hand. Even “dead Fullz,” which are Fullz credentials associated with credit cards that are no longer valid,
can still be used for numerous purposes, including tax refund scams, ordering credit cards on behalf of the
victim, or opening a “mule account” (an account that will accept a fraudulent money transfer from a
compromised account) without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale
in Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-texas-life-
insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-
texas-life-insurance-finn/ (last accessed on Aug. 9, 2023).



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email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the

PII that was exfiltrated in the Data Breach, criminals may still easily create a Fullz package and

sell it at a higher price to unscrupulous operators and criminals (such as illegal and scam

telemarketers) over and over.

          114.        The existence and prevalence of “Fullz” packages means that the PII stolen from

the data breach can easily be linked to the unregulated data (like driver's license numbers) of

Plaintiff and the other Class Members.

          115.        Thus, even if certain information (such as driver's license numbers) was not stolen

in the data breach, criminals can still easily create a comprehensive “Fullz” package.

          116.        Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

crooked operators and other criminals (like illegal and scam telemarketers).

          Loss Of Time To Mitigate Risk Of Identity Theft And Fraud

          117.        As a result of the recognized risk of identity theft, when a Data Breach occurs,

and an individual is notified by a company that their PII was compromised, as in this Data Breach,

the reasonable person is expected to take steps and spend time to address the dangerous situation,

learn about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of

fraud. Failure to spend time taking steps to review accounts or credit reports could expose the

individual to greater financial harm – yet, the resource and asset of time has been lost.

          118.        Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

Members must, as Defendant’s Notice Letter instructs,24 "remain vigilant" and monitor their

financial accounts for many years to mitigate the risk of identity theft.



24
     Notice Letter.



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        119.    Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions to remedy the harms they have or may experience as a

result of the Data Breach, such as researching and verifying the legitimacy of the Data Breach

upon receiving the Notice Letter.

        120.    These efforts are consistent with the U.S. Government Accountability Office that

released a report in 2007 regarding data breaches (“GAO Report”) in which it noted that victims

of identity theft will face “substantial costs and time to repair the damage to their good name and

credit record.”25

        121.    These efforts are also consistent with the steps that FTC recommends that data

breach victims take several steps to protect their personal and financial information after a data

breach, including: contacting one of the credit bureaus to place a fraud alert (consider an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit

reports, contacting companies to remove fraudulent charges from their accounts, placing a credit

freeze on their credit, and correcting their credit reports.26

        122.    A study by Identity Theft Resource Center shows the multitude of harms caused

by fraudulent use of personal and financial information:27




25
   See United States Government Accountability Office, GAO-07-737, Personal Information: Data
Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.
26
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last visited
Aug. 9, 2023).
27
   Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, at:
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-1276.php (last
visited Sep 13, 2022).



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       123.    And for those Class Members who experience actual identity theft and fraud, the

United States Government Accountability Office released a report in 2007 regarding data

breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record.”28

       Diminution Value Of PII

       124.    PII is a valuable property right.29 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII has

considerable market value.




28
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the
Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last accessed Aug. 9, 2023) (“GAO Report”).
29
   See, e.g., Randall T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009)
(“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching a level
comparable to the value of traditional financial assets.”) (citations omitted).



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       125.    An active and robust legitimate marketplace for PII exists. In 2019, the data

brokering industry was worth roughly $200 billion.30

       126.    In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers.31,32

       127.    Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive up to $50.00 a year.33

       128.    Conversely sensitive PII can sell for as much as $363 per record on the dark web

according to the Infosec Institute.34

       129.    As a result of the Data Breach, Plaintiff’s and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished by

its compromise and unauthorized release. However, this transfer of value occurred without any

consideration paid to Plaintiff or Class Members for their property, resulting in an economic loss.

Moreover, the PII is now readily available, and the rarity of the Data has been lost, thereby

causing additional loss of value.

       130.    Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to


30
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers (last accessed Aug. 9, 2023).
31
   https://datacoup.com/ (last accessed Aug. 9, 2023).
32
   https://worlddataexchange.com/about (last accessed Aug. 9, 2023).
33
   Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last accessed Aug. 9, 2023).
34
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/ (last
accessed Aug. 9, 2023).



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change, e.g., names and Social Security numbers.

         131.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         132.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         133.   At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, and of the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a

result of a breach.

         134.   Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to over one million individuals'

detailed personal information, upon information and belief, and thus, the significant number of

individuals who would be harmed by the exposure of the unencrypted data.

         135.   The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

         Future Cost of Credit and Identity Theft Monitoring is Reasonable and Necessary

         136.   Given the type of targeted attack in this case and sophisticated criminal activity,

the type of PII involved, and the volume of data obtained in the Data Breach, there is a strong

probability that entire batches of stolen information have been placed, or will be placed, on the

black market/dark web for sale and purchase by criminals intending to utilize the PII for identity

theft crimes –e.g., opening bank accounts in the victims’ names to make purchases or to launder




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money; file false tax returns; take out loans or lines of credit; or file false unemployment claims.

        137.    Such fraud may go undetected until debt collection calls commence months, or

even years, later. An individual may not know that his or his Social Security Number was used

to file for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        138.    Consequently, Plaintiff and Class Members are at a present and continuous risk

of fraud and identity theft for many years into the future.

        139.    The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is reasonable and necessary cost to monitor to protect Class

Members from the risk of identity theft that arose from Defendant’s Data Breach. This is a future

cost for a minimum of five years that Plaintiff and Class Members would not need to bear but for

Defendant’s failure to safeguard their PII.

        Loss Of The Benefit Of The Bargain

        140.    Furthermore, Defendant’s poor data security deprived Plaintiff and Class

Members of the benefit of their bargain. When agreeing to pay Defendant and/or its agents for

products and/or services, Plaintiff and other reasonable consumers understood and expected that

they were, in part, paying for the product and/or service and necessary data security to protect

the PII, when in fact, Defendant did not provide the expected data security. Accordingly, Plaintiff

and Class Members received products and/or services that were of a lesser value than what they

reasonably expected to receive under the bargains they struck with Defendant.

        Plaintiff Biven’s Experience

        141.    Plaintiff Allen Bivens is a former customer at MLIC.




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       142.    As a condition of opening an account at MLIC, he was required to provide his PII,

directly or indirectly, to Defendant, including his name, address, date of birth, and Social Security

number.

       143.    At the time of the Data Breach₋₋approximately May 29, 2023, through May 30,

2023₋₋Defendant retained Plaintiff’s PII in its system.

       144.    Plaintiff is very careful about sharing his sensitive PII. Plaintiff stores any

documents containing his PII in a safe and secure location. He has never knowingly transmitted

unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff would not

have entrusted his PII to Defendant had he known of Defendant’s lax data security policies.

       145.    Plaintiff Allen Bivens received the Notice Letter, by U.S. mail, from Pension

Benefit Information, LLC on behalf of Defendant, dated July 21, 2023. According to the Notice

Letter, Plaintiff’s PII was improperly accessed and obtained by unauthorized third parties,

including his name, address, and email address, date of birth, and Social Security number.

       146.    As a result of the Data Breach, and at the direction of Defendant’s Notice Letter,

Plaintiff made reasonable efforts to mitigate the impact of the Data Breach, including researching

and verifying the legitimacy of the Data Breach upon receiving the Notice Letter. Plaintiff has

spent significant time dealing with the Data Breach₋₋valuable time Plaintiff otherwise would have

spent on other activities, including but not limited to work and/or recreation. This time has been

lost forever and cannot be recaptured.

       147.    Plaintiff suffered actual injury from having his PII compromised as a result of the

Data Breach including, but not limited to: (i) invasion of privacy; (ii) lost or diminished value of

PII; (iii) lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (iv) loss of benefit of the bargain; and (v) the continued and




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certainly increased risk to their PII, which: (a) remains unencrypted and available for

unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

       148.    The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by the fact that Defendant has still not fully informed his of key details about

the Data Breach’s occurrence.

       149.    As a result of the Data Breach, Plaintiff anticipates spending considerable time

and money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

       150.    As a result of the Data Breach, Plaintiff is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

       151.    Plaintiff Allen Bivens has a continuing interest in ensuring that his PII, which,

upon information and belief, remains backed up in Defendant’s possession, is protected and

safeguarded from future breaches.

                             CLASS ACTION ALLEGATIONS

       152.    Plaintiff brings this action individually and on behalf of all other persons similarly

situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).

       153.    Specifically, Plaintiff proposes the following Nationwide Class, subject to

amendment as appropriate:

       Nationwide Class
       All individuals in the United States whose PII was impacted as a result of the Data Breach
       (the "Class").

       154.    Excluded from the Class are Defendant and its parents or subsidiaries, any entities

in which it has a controlling interest, as well as its officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any Judge to whom


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this case is assigned as well as their judicial staff and immediate family members.

        155.    Plaintiff reserves the right to modify or amend the definition of the proposed

Nationwide Class, as well as add subclasses, before the Court determines whether certification is

appropriate.

        156.    The proposed Class meets the criteria for certification under Fed. R. Civ. P. 23(a),

(b)(2), and (b)(3).

        157.    Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Though the exact number and identities of Class Members are unknown at this time

it is likely hundreds, if not thousands of individuals had their PII compromised in this Data Breach,

given the Defendant operates widely throughout the United States. The identifies of Class

Members are ascertainable through Defendant’s records, Class Members’ records, publication

notice, self-identification, and other means.

        158.    Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

            a. Whether MLIC engaged in the conduct alleged herein;

            b. Whether MLIC’s conduct violated the FTCA and/or GBLA;

            c. When MLIC learned of the Data Breach;

            d. Whether MLIC’s response to the Data Breach was adequate;

            e. Whether MLIC unlawfully lost or disclosed Plaintiff’s and Class Members’ PII;

            f. Whether MLIC failed to implement and maintain reasonable security procedures

                and practices appropriate to the nature and scope of the PII compromised in the

                Data Breach;




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  g. Whether MLIC’s data security systems prior to and during the Data Breach

      complied with applicable data security laws and regulations;

  h. Whether MLIC’s data security systems prior to and during the Data Breach were

      consistent with industry standards;

  i. Whether MLIC owed a duty to Class Members to safeguard their PII;

  j. Whether MLIC breached its duty to Class Members to safeguard their PII;

  k. Whether hackers obtained Class Members’ PII via the Data Breach;

  l. Whether MLIC had a legal duty to provide timely and accurate notice of the Data

      Breach to Plaintiff and the Class Members;

  m. Whether MLIC breached its duty to provide timely and accurate notice of the Data

      Breach to Plaintiff and Class Members;

  n. Whether MLIC knew or should have known that its data security systems and

      monitoring processes were deficient;

  o. What damages Plaintiff and Class Members suffered as a result of MLIC’s

      misconduct;

  p. Whether MLIC’s conduct was negligent;

  q. Whether MLIC was unjustly enriched;

  r. Whether Plaintiff and Class Members are entitled to actual and/or statutory

      damages;

  s. Whether Plaintiff and Class Members are entitled to additional credit or identity

      monitoring and monetary relief; and

  t. Whether Plaintiff and Class Members are entitled to equitable relief, including

      injunctive relief, restitution, disgorgement, and/or the establishment of a




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                constructive trust.

        159.    Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s PII, like that of every other Class Member, was compromised in the Data Breach.

Plaintiff’s claims are typical of those of the other Class Members because, inter alia, all Class

Members were injured through the common misconduct of MLIC. Plaintiff is advancing the same

claims and legal theories on behalf of himself and all other Class Members, and there are no

defenses that are unique to Plaintiff. The claims of Plaintiff and those of Class Members arise from

the same operative facts and are based on the same legal theories.

        160.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff’s counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        161.    Predominance. MLIC has engaged in a common course of conduct toward Plaintiff

and Class Members in that all of Plaintiff’s and Class Members’ data was stored on the same

computer systems and unlawfully accessed and exfiltrated in the same way. The common issues

arising from MLIC’s conduct affecting Class Members set out above predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

        162.    Superiority. A Class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual




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Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for MLIC.

In contrast, conducting this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each Class

Member.

        163.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). MLIC has

acted and/or refused to act on grounds generally applicable to the Class such that final injunctive

relief and/or corresponding declaratory relief is appropriate as to the Class as a whole.

        164.    Finally, all members of the proposed Class are readily ascertainable. MLIC has

access to the names and addresses and/or email addresses of Class Members affected by the Data

Breach. Class Members have already been preliminarily identified and sent Notice of the Data

Breach by Pension Benefit Information, LLC.

                                           COUNT I
                                           Negligence
                              (On Behalf of Plaintiff and the Class)

        165.    Plaintiff restates and realleges the preceding factual allegations set forth above as

if fully alleged herein.

        166.    Defendant requires its customers, including Plaintiff and Class Members, to submit

non-public PII in the ordinary course of providing its services.

        167.    Defendant gathered and stored the PII of Plaintiff and Class Members as part of its

business of soliciting its services to its and its customers, which solicitations and services affect

commerce.

        168.    Plaintiff and Class Members entrusted Defendant with their PII, directly or

indirectly, with the understanding that Defendant would safeguard their information.




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       169.    Defendant had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

       170.    By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and to prevent disclosure of the information, and to safeguard the information

from theft. Defendant’s duty included a responsibility to exercise due diligence in selecting IT

vendors and to audit, monitor, and ensure the integrity of its vendor’s systems and practices and

to give prompt notice to those affected in the case of a data breach.

       171.    Defendant had a duty to employ reasonable security measures under Section 5 of

the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

       172.    Defendant's duty to use reasonable security measures also arose under the GLBA,

under which they were required to protect the security, confidentiality, and integrity of customer

information by developing a comprehensive written information security program that contains

reasonable administrative, technical, and physical safeguards.

       173.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

PII.

       174.    Defendant's duty of care to use reasonable security measures arose as a result of the

special relationship that existed between Milliman and Plaintiff and Class Members. That special

relationship arose because Plaintiff and the Class entrusted Milliman with their confidential PII, a




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necessary part of being customers of Defendant.

       175.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential PII.

       176.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.

       177.    Defendant also had a duty to exercise appropriate clearinghouse practices to remove

former customers’ PII it was no longer required to retain pursuant to regulations.

       178.    Moreover, Defendant had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach.

       179.    Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Class within Defendant’s possession might have been compromised, how it was

compromised, and precisely the types of data that were compromised and when. Such notice was

necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and repair any identity

theft and the fraudulent use of their PII by third parties.

       180.    Defendant breached its duties, pursuant to the FTC Act, GLBA, and other

applicable standards, and thus was negligent, by failing to use reasonable measures to protect Class

Members’ PII. The specific negligent acts and omissions committed by Defendant include, but are

not limited to, the following:

           a. Failing to adopt, implement, and maintain adequate security measures to safeguard

               Class Members’ PII;

           b. Failing to adequately monitor the security of their networks and systems;

           c. Failing to audit, monitor, or ensure the integrity of its vendor’s data security




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               practices;

           d. Allowing unauthorized access to Class Members’ PII;

           e. Failing to detect in a timely manner that Class Members’ PII had been

               compromised;

           f. Failing to remove former customers’ PII it was no longer required to retain pursuant

               to regulations,

           g. Failing to timely and adequately notify Class Members about the Data Breach’s

               occurrence and scope, so that they could take appropriate steps to mitigate the

               potential for identity theft and other damages; and

           h. Failing to secure its stand-alone personal computers, such as the reception desk

               computers, even after discovery of the data breach.

       181.    Defendant violated Section 5 of the FTC Act and GLBA by failing to use

reasonable measures to protect PII and not complying with applicable industry standards, as

described in detail herein. Defendant’s conduct was particularly unreasonable given the nature and

amount of PII it obtained and stored and the foreseeable consequences of the immense damages

that would result to Plaintiff and the Class.

       182.    Plaintiff and Class Members were within the class of persons the Federal Trade

Commission Act and GLBA were intended to protect and the type of harm that resulted from the

Data Breach was the type of harm these statues were intended to guard against.

       183.    Defendant’s violation of Section 5 of the FTC Act and GLBA constitutes

negligence.

       184.    The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,




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caused the same harm as that suffered by Plaintiff and the Class.

       185.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       186.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

insurance industry.

       187.    Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

       188.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiff and the Class, the critical importance of providing

adequate security of that PII, and the necessity for encrypting PII stored on Defendant’s systems.

       189.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

PII would result in one or more types of injuries to Class Members.

       190.    Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendant’s possession.

       191.    Defendant was in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

       192.    Defendant’s duty extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place




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to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       193.    Defendant has admitted that the PII of Plaintiff and the Class was wrongfully lost

and disclosed to unauthorized third persons as a result of the Data Breach.

       194.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Class, the PII of Plaintiff and the Class would not have been compromised.

       195.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Class and the harm, or risk of imminent

harm, suffered by Plaintiff and the Class. The PII of Plaintiff and the Class was lost and accessed

as the proximate result of Defendant’s failure to exercise reasonable care in safeguarding such PII

by adopting, implementing, and maintaining appropriate security measures.

       196.    As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii) lost

or diminished value of PII; (iii) lost time and opportunity costs associated with attempting to

mitigate the actual consequences of the Data Breach; (iv) loss of benefit of the bargain; and (v) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

       197.    As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic




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losses.

          198.    Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued

possession.

          199.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

          200.    Defendant’s negligent conduct is ongoing, in that it still holds the PII of Plaintiff

and Class Members in an unsafe and insecure manner.

          201.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                            COUNT II
                                        Breach of Contract
                                (On Behalf Of Plaintiff And the Class)

          202.    Plaintiff restates and realleges all of the allegations stated above as if fully set forth

herein.

          203.    Defendant entered into written contracts with its clients to provide insurance and/or

other services.

          204.    In exchange, Defendant agreed, in part, to implement adequate security measures

to safeguard the PII of Plaintiff and the Class and to timely and adequately notify them of the Data

Breach.




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          205.   These contracts were made expressly for the benefit of Plaintiff and the Class, as

Plaintiff and Class Members were the intended beneficiaries of the contracts entered into with

Defendant. Defendant knew that, if it were to breach these contracts, Plaintiffs and Class

Members—would be harmed.

          206.   Defendant breached the contracts it entered into with its clients by, among other

things, failing to (i) use reasonable data security measures, (ii) implement adequate protocols and

employee training sufficient to protect Plaintiff’s PII from unauthorized disclosure to third parties,

and (iii) promptly and adequately notify Plaintiff and Class Members of the Data Breach.

          207.   Plaintiff and the Class were harmed by Defendant’s breach of its contracts, as such

breach is alleged herein, and are entitled to the losses and damages they have sustained as a direct

and proximate result thereof.

          208.   Plaintiff and Class Members are also entitled to their costs and attorney’s fees

incurred in this action.

                                           COUNT III
                                    Breach Of Fiduciary Duty
                               (On Behalf Of Plaintiff And the Class)

          209.   Plaintiff restates and realleges all of the allegations stated above as if fully set forth

herein.

          210.   In providing their PII, directly or indirectly, to Defendant, Plaintiff and Class

members justifiably placed a special confidence in Defendant to act in good faith and with due

regard to interests of Plaintiff and class members to safeguard and keep confidential that PII.

          211.   Defendant accepted the special confidence Plaintiff and Class members placed in

it, as evidenced by its assertion that it is committed to protecting the privacy of Plaintiff’s and

Class Members' personal information as detailed in its Privacy Policy.




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       212.     In light of the special relationship between Defendant and Plaintiff and Class

members, whereby Defendant became a guardian of Plaintiff’s and Class members' PII, Defendant

became a fiduciary by its undertaking and guardianship of the PII, to act primarily for the benefit

of its customers, including Plaintiff and Class members, for the safeguarding of Plaintiff and Class

member’s PII.

       213.     Defendant has a fiduciary duty to act for the benefit of Plaintiff and Class members

upon matters within the scope of its relationship with Defendants' customers, in particular, to keep

secure the PII of its customers.

       214.     Defendant breached its fiduciary duties to Plaintiff and Class members by failing

to protect the integrity of the systems containing Plaintiff’s and Class member’s PII.

       215.     Defendant breached its fiduciary duties to Plaintiff and class members by otherwise

failing to safeguard Plaintiff’s and Class members’ PII.

       216.     As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and class members have suffered and will suffer injury, including but not limited to: (i)

invasion of privacy; (ii) lost or diminished value of PII; (iii) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (iv) loss of

benefit of the bargain; and (v) the continued and certainly increased risk to their PII, which: (a)

remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

remains backed up in Defendant’s possession and is subject to further unauthorized disclosures so

long as Defendant fails to undertake appropriate and adequate measures to protect the PII.

       217.     As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and Class members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.




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                                           COUNT IV
                                      Breach Of Confidence
                               (On Behalf Of Plaintiff And the Class)

          218.   Plaintiff restates and realleges all of the allegations stated above as if fully set forth

herein.

          219.   At all times during Plaintiff and Class members’ interactions with Defendant,

Defendant was fully aware of the confidential, novel, and sensitive nature of Plaintiff’s and the

Class members’ PII that Plaintiff and Class members provided to Defendant.

          220.   As alleged herein and above, Defendant’s relationship with Plaintiff and Class

members was governed by expectations that Plaintiff and Class members’ PII would be collected,

stored, and protected in confidence, and would not be disclosed to unauthorized third parties.

          221.   Plaintiffs and Class members provided their respective PII to Defendant, directly

or indirectly, with the explicit and implicit understandings that Defendant would protect and not

permit the PII to be disseminated to any unauthorized parties.

          222.   Plaintiffs and Class members also provided their respective PII to Defendant with

the explicit understanding that Defendant would take precautions to protect that PII from

unauthorized disclosure, such as following basic principles of information security practices.

          223.   Defendant voluntarily received in confidence Plaintiff and Class members’ PII with

the understanding that the PII would not be disclosed or disseminated to the public or any

unauthorized third parties.

          224.   Due to Defendant’s failure to prevent, detect, and/or avoid the Data Breach from

occurring by, inter alia, failing to follow best information security practices to secure Plaintiffs’

and Class members’ PII, Plaintiffs’ and Class members’ PII was disclosed and misappropriated to

unauthorized third parties beyond Plaintiffs’ and Class members’ confidence, and without their




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express permission.

          225.   But for Defendant’s disclosure of Plaintiffs’ and Class members’ PII in violation of

the parties’ understanding of confidence, their PII would not have been compromised, stolen,

viewed, accessed, and used by unauthorized third parties. Defendant’s Data Breach was the direct

and legal cause of the theft of Plaintiffs’ and Class members’ PII, as well as the resulting damages.

          226.   The injury and harm Plaintiffs and Class members suffered was the reasonably

foreseeable result of Defendant’s unauthorized disclosure of Plaintiffs’ and Class members’ PII.

Defendant knew or should have known their security systems were insufficient to protect the PII

that is coveted by thieves worldwide. Defendant also failed to observe industry standard

information security practices.

          227.   As a direct and proximate cause of Defendant’s conduct, Plaintiffs and Class

members suffered damages as alleged above.

                                            COUNT V
                                Unjust Enrichment / Quasi Contract
                               (On Behalf Of Plaintiff And the Class)

          228.   Plaintiff restates and realleges all of the allegations stated above as if fully set forth

herein.

          229.   Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they paid for services from Defendant and/or its agents and in so doing also provided

Defendant with their PII. In exchange, Plaintiff and Class Members should have received from

Defendant the services that were the subject of the transaction and should have had their PII

protected with adequate data security.

          230.   Defendant knew that Plaintiff and Class Members conferred a benefit upon it and

has accepted and retained that benefit by accepting and retaining the PII entrusted to it. Defendant




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profited from Plaintiff’s retained data and used Plaintiff’s and Class Members’ PII for business

purposes.

       231.    Defendant failed to secure Plaintiff’s and Class Members’ PII and, therefore, did

not fully compensate Plaintiff or Class Members for the value that their PII provided.

       232.    Defendant acquired the PII through inequitable record retention as it failed to

disclose the inadequate data security practices previously alleged.

       233.    If Plaintiff and Class Members had known that Defendant would not use adequate

data security practices, procedures, and protocols to adequately monitor, supervise, and secure

their PII, they would have entrusted their PII at Defendant or obtained services at Defendant.

       234.    Plaintiff and Class Members have no adequate remedy at law.

       235.    Under the circumstances, it would be unjust for Defendant to be permitted to retain

any of the benefits that Plaintiff and Class Members conferred upon it.

       236.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) lost or diminished value of PII; (iii) lost time and opportunity costs associated with attempting

to mitigate the actual consequences of the Data Breach; (iv) loss of benefit of the bargain; and (v)

the continued and certainly increased risk to their PII, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII.

       237.    Plaintiff and Class Members are entitled to full refunds, restitution, and/or damages

from Defendant and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendant from its wrongful conduct. This can be accomplished by




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establishing a constructive trust from which the Plaintiff and Class Members may seek restitution

or compensation.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

           A.      For an Order certifying this action as a class action and appointing Plaintiff and

                   his counsel to represent the Class;

           B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

                   complained of herein pertaining to the misuse and/or disclosure of Plaintiff's and

                   Class Members’ PII, and from refusing to issue prompt, complete and accurate

                   disclosures to Plaintiff and Class Members;

           C.      For equitable relief compelling Defendant to utilize appropriate methods and

                   policies with respect to consumer data collection, storage, and safety, and to

                   disclose with specificity the type of PII compromised during the Data Breach;

           D.      For injunctive relief requested by Plaintiff, including but not limited to,

                   injunctive and other equitable relief as is necessary to protect the interests of

                   Plaintiff and Class Members, including but not limited to an order:

                   i.     Prohibiting Defendant from engaging in the wrongful and unlawful acts

                          described herein;

                 ii.      Requiring Defendant to protect, including through encryption, all data

                          collected through the course of its business in accordance with all

                          applicable regulations, industry standards, and federal, state, or local

                          laws;

                iii.      Requiring Defendant to delete, destroy, and purge the PII of Plaintiff and

                          Class Members unless Defendant can provide to the Court reasonable


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              justification for the retention and use of such information when weighed

              against the privacy interests of Plaintiff and Class Members;

       iv.    Requiring Defendant to implement and maintain a comprehensive

              Information Security Program designed to protect the confidentiality and

              integrity of the PII of Plaintiff and Class Members;

       v.     Prohibiting Defendant from maintaining the PII of Plaintiff and Class

              Members on a cloud-based database;

       vi.    Requiring Defendant to engage independent third-party security

              auditors/penetration testers as well as internal security personnel to

              conduct testing, including simulated attacks, penetration tests, and audits

              on Defendant’s systems on a periodic basis, and ordering Defendant to

              promptly correct any problems or issues detected by such third-party

              security auditors;

      vii.    Requiring Defendant to engage independent third-party security auditors

              and internal personnel to run automated security monitoring;

     viii.    Requiring Defendant to audit, test, and train its security personnel

              regarding any new or modified procedures;

       ix.    Requiring Defendant to segment data by, among other things, creating

              firewalls and access controls so that if one area of Defendant’s network

              is compromised, hackers cannot gain access to other portions of

              Defendant’s systems;

       x.     Requiring Defendant to conduct regular database scanning and securing

              checks;




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       xi.    Requiring Defendant to establish an information security training

              program that includes at least annual information security training for all

              patients, with additional training to be provided as appropriate based upon

              the patients’ respective responsibilities with handling personal

              identifying information, as well as protecting the personal identifying

              information of Plaintiff and Class Members;

      xii.    Requiring Defendant to routinely and continually conduct internal

              training and education, and on an annual basis to inform internal security

              personnel how to identify and contain a breach when it occurs and what

              to do in response to a breach;

     xiii.    Requiring Defendant to implement a system of tests to assess its

              respective patients’ knowledge of the education programs discussed in

              the preceding subparagraphs, as well as randomly and periodically testing

              patients’ compliance with Defendant’s policies, programs, and systems

              for protecting personal identifying information;

     xiv.     Requiring Defendant to implement, maintain, regularly review, and

              revise as necessary a threat management program designed to

              appropriately monitor Defendant’s information networks for threats, both

              internal and external, and assess whether monitoring tools are

              appropriately configured, tested, and updated;

      xv.     Requiring Defendant to meaningfully educate all Class Members about

              the threats that they face as a result of the loss of their confidential




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                 personal identifying information to third parties, as well as the steps

                 affected individuals must take to protect themselves; and

       xvi.      Requiring Defendant to implement logging and monitoring programs

                 sufficient to track traffic to and from Defendant’s servers; and

       xvii.     for a period of 10 years, appointing a qualified and independent third

                 party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                 to evaluate Defendant’s compliance with the terms of the Court’s final

                 judgment, to provide such report to the Court and to counsel for the Class,

                 and to report any deficiencies with compliance of the Court’s final

                 judgment.

  E.      For equitable relief requiring restitution and disgorgement of the revenues

          wrongfully retained as a result of Defendant’s wrongful conduct;

  F.      Ordering Defendant to pay for not less than ten years of credit monitoring

          services for Plaintiff and the Class;

  G.      For an award of actual damages, compensatory damages, statutory damages, and

          statutory penalties, in an amount to be determined, as allowable by law;

  H.      For an award of punitive damages, as allowable by law;

  I.      For an award of attorneys’ fees and costs, and any other expense, including expert

          witness fees;

  J.      Pre- and post-judgment interest on any amounts awarded; and

  K.      Such other and further relief as this court may deem just and proper.

                          JURY TRIAL DEMANDED

Plaintiff demands a trial by jury on all claims so triable.




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Dated: August 10, 2023         Respectfully submitted,


                               /s/ Andrew Shamis_______________
                               Andrew J. Shamis
                               SHAMIS & GENTILE P.A.
                               14 NE 1st Ave., Suite 705
                               Miami, Florida 33132
                               Tel: (305) 479-2299
                               ashamis@shamisgentile.com

                               KOPELOWITZ OSTROW
                               FERGUSON WEISELBERG GILBERT
                               Jeff Ostrow
                               Kristen Lake Cardoso*
                               Steven Sukert*
                               One West Las Olas Blvd., Suite 500
                               Fort Lauderdale, Florida 33301
                               Tel: (954) 525-4100
                               ostrow@kolawyers.com
                               cardoso@kolawyers.com
                               sukert@kolawyers.com

                               Gary M. Klinger*
                               MILBERG COLEMAN BRYSON
                               PHILLIPS GROSSMAN LLC
                               227 W. Monroe Street, Suite 2100
                               Chicago, IL 60606
                               Phone: (866) 252-0878
                               gklinger@milberg.com

                               Attorney for Plaintiff and
                               the Proposed Class

                               *Pro Hac Vice application forthcoming




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                                   U.S. District Court
                         Western District of Wisconsin (Madison)
                     CIVIL DOCKET FOR CASE #: 3:23−cv−00549−slc

Bivens, Allen v. MEMBERS Life Insurance Company                  Date Filed: 08/10/2023
Assigned to: Magistrate Judge Stephen L. Crocker                 Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Breach of Contract                      Nature of Suit: 190 Contract: Other
                                                                 Jurisdiction: Diversity
Plaintiff
Allen Bivens                                     represented by Jeffrey M. Ostrow
on behalf of himself and all others                             Kopelowitz Ostrow P.A.
similarly situated,                                             One West Las Olas Blvd.
                                                                Suite 500
                                                                Fort Lauderdale, FL 33301
                                                                954−525−4100
                                                                Fax: 954−525−4300
                                                                Email: ostrow@kolawyers.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                 Andrew John Shamis
                                                                 Shamis & Gentile, P.A.
                                                                 14 NE 1st Avenue, Suite 1205
                                                                 Miami, FL 33132
                                                                 305−479−2299
                                                                 Fax: 786−623−0915
                                                                 Email: ashamis@shamisgentile.com
                                                                 ATTORNEY TO BE NOTICED


V.
Defendant
MEMBERS Life Insurance Company                   represented by Michael D. Leffel
doing business as                                               Foley & Lardner LLP
Trustage Financial Group, Inc                                   150 East Gilman Street
                                                                Suite 5000
                                                                Madison, WI 53703−1482
                                                                608−257−5035
                                                                Email: mleffel@foley.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                 Anne−Louise T. Mittal
                                                                 Foley & Lardner
                                                                 777 E Wisconsin Ave
                                                                 Milwaukee, WI 53202
                                                                 414−319−7215
                                                                 Email: amittal@foley.com
                                                                 ATTORNEY TO BE NOTICED


 Date Filed      #    Docket Text
 08/10/2023       1 COMPLAINT against MEMBERS Life Insurance Company. ( Filing fee $ 402 receipt
                    number AWIWDC−3287314.), filed by Allen Bivens. (Attachments:
                    # 1 JS−44 Civil Cover Sheet,
                    # 2 Summons) (Shamis, Andrew) (Entered: 08/10/2023)
 08/10/2023       2 Exhibit to 1 Complaint filed by Allen Bivens. Exhibit A − Letter dated July 21, 2023.
                    (Shamis, Andrew) Modified on 8/10/2023. (lak) (Entered: 08/10/2023)
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08/10/2023       Case randomly assigned to Magistrate Judge Stephen L. Crocker. (lak) (Entered:
                 08/10/2023)
08/10/2023       Standard attachments for Magistrate Judge Stephen L. Crocker required to be served
                 on all parties with summons or waiver of service: Corporate Disclosure Statement,
                 Order Regarding Assignment of Cases, Notice of Assignment to a Magistrate Judge
                 and Consent/Request for Reassignment, Order on Dispositive Motions. (lak) (Entered:
                 08/10/2023)
08/10/2023    3 Summons Issued as to MEMBERS Life Insurance Company. (lak) (Entered:
                08/10/2023)
08/30/2023    4 Summons Returned Executed. MEMBERS Life Insurance Company served on
                8/15/2023, answer due 9/5/2023. (Shamis, Andrew) (Entered: 08/30/2023)
09/05/2023    5 Notice of Appearance filed by Anne−Louise T. Mittal for Defendant MEMBERS Life
                Insurance Company. (Mittal, Anne−Louise) (Entered: 09/05/2023)
09/05/2023    6 Notice of Appearance filed by Michael D. Leffel for Defendant MEMBERS Life
                Insurance Company. (Leffel, Michael) (Entered: 09/05/2023)
09/05/2023    7 Unopposed Motion for Extension of Time to File Answer by Defendant MEMBERS
                Life Insurance Company. (Leffel, Michael) (Entered: 09/05/2023)
09/05/2023    8 Corporate Disclosure Statement by Defendant MEMBERS Life Insurance Company.
                (Leffel, Michael) (Entered: 09/05/2023)
09/05/2023    9 ** TEXT ONLY ORDER **
                ORDER granting 7 Motion for Extension of Time to Answer. MEMBERS Life
                Insurance Company answer due 10/5/2023. Signed by Magistrate Judge Stephen L.
                Crocker on 9/5/2023. (lam) (Entered: 09/05/2023)
09/11/2023   10 Notice of Appearance filed by Jeffrey M. Ostrow for Plaintiff Allen Bivens. (Ostrow,
                Jeffrey) (Entered: 09/11/2023)
